                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                       :

                   vs.                          : CRIMINAL NO. 3:16CR048(MPS)

 NATHANIEL SMITH                                : MARCH 27, 2017


       EXHIBITS TO DEFENDANT’S MEMORANDUM IN AID OF SENTENCING


      The defendant, Nathaniel Smith, respectfully files Exhibits C, D, E, F, G, H, I, J, P, T, U, V,
W, X, Y, Z, AA, and CC to his Memorandum in Aid of Sentencing filed on March 27, 2017.
                                            Respectfully submitted,

                                            THE DEFENDANT,
                                            Nathaniel Smith

                                            OFFICE OF THE FEDERAL DEFENDER


Dated: March 27, 2017                       /s/ Kelly M. Barrett
                                            Kelly M. Barrett
                                            Assistant Federal Defender
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 27, a copy of the foregoing document was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the Court’s CM/ECF System.

                                             /s/ Kelly M. Barrett
                                             Kelly M. Barrett




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